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   1                        UNITED STATES DISTRICT COURT

   2                       CENTRAL DISTRICT OF CALIFORNIA

   3                                      ---

   4           HONORABLE FERNANDO L. AENLLE-ROCHA, JUDGE PRESIDING

   5                                      ---

   6

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   8     PAVEL FUKS,                     )
                                         )
   9                                     )
                                         )
  10                      Plaintiff,     )
                                         ) CV NO. 19-1212
  11               VS                    )
                                         )
  12     YURI VANETIK,                   )
                                         )
  13                                     )
                           Defendant.    )
  14     ________________________________)

  15

  16                   Reporter's Transcript of Proceedings
                             COURT TRIAL - DAY THREE
  17                          Los Angeles, California
                           THURSDAY, SEPTEMBER 23, 2021
  18                                 8:00 A.M.

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  24                      Federal Official Court Reporter
                           UNITED STATES DISTRICT COURT
  25                      CENTRAL DISTRICT OF CALIFORNIA
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            1   THURSDAY, SEPTEMBER 23, 2021                             8:00 A.M.

            2                                    ~ ~ ~

            3                        COURT TRIAL - DAY THREE

13:37:48    4                                    ~ ~ ~

08:20:47    5                 COURT CLERK:    Calling Case CV 19-1212.     Pavel Fuks

08:21:01    6   versus Yuri Vanetik.

08:21:04    7                      Counsel, please state your appearances for

08:21:05    8   the record.

08:21:05    9                 MR. LOMAS:   Good morning, Your Honor.      John Lomas

08:21:10   10   and Joseph Ashby on behalf of plaintiff.

08:21:12   11                 MR. HAMILTON:   Good morning, Your Honor.      John

08:21:15   12   Hamilton on behalf defendant Yuri Vanetik.

08:21:20   13                 THE COURT:   Good morning to counsel and Mr.

08:21:20   14   Vanetik.

08:21:23   15                      We are here to resume the bench trial, and I

08:21:26   16   see that our Russian interpreter is back.

08:21:31   17                 THE INTERPRETER:    Good morning.

08:21:31   18                 THE COURT:   Good morning, sir.

08:21:32   19                      Why don't you go ahead and put your

08:21:34   20   appearance on the record again.

08:21:36   21                 THE INTERPRETER:    Russian Interpreter, Leonid

08:21:41   22   Vishmid, L-E-O-N-I-D, V-I-S-H-M-I-D.        My certification number

08:21:47   23   is 301247.

08:21:49   24                 THE COURT:   Thank you.

08:21:49   25                      All right, we're ready to resume with the
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                                                                                      5


08:21:52    1   defense's case.

08:21:53    2                     You may call your next witness.

08:21:55    3               MR. HAMILTON:     Your Honor, the defense calls

08:21:58    4   Sayhan Agaev.

08:22:08    5               COURT CLERK:     Mr. Agaev, please raise your right

08:22:12    6   hand to be sworn.

08:22:13    7                     Do you swear or affirm that the testimony

08:22:13    8   you're about to give in the case now before this Court will

08:22:13    9   be the truth, the whole truth and nothing but the truth, so

08:22:34   10   help you God?

08:22:34   11               THE WITNESS:     Yes.

08:22:35   12               COURT CLERK:     Please state and spell your full

08:22:36   13   name for the record.

08:22:38   14                     (TESTIMONY GIVEN THROUGH INTERPRETER)

08:22:38   15               THE WITNESS:     Sayhan Khuseyn Agaev.     That's my --

08:23:17   16                     My nickname is Sayhan.      My real name is

08:23:22   17   Khuseyn, K-H-U-S-E-Y-N and last name Agaev, A-G-A-E-V, and

08:23:34   18   the middle name --

08:23:41   19                     Should be D-U-N-D-A-E-V-I-C-H.

08:23:51   20               THE COURT:    So, Counsel, I can barely see your

08:23:55   21   witness.   It is an extraordinarily dark screen.        And,

08:24:07   22   actually, it all just went away right now.

08:24:11   23                     But as you know, Rule 43 does require

08:24:16   24   appropriate --

08:24:19   25               MR. HAMILTON:     Yes, Your Honor, and he appears to
       Case 8:19-cv-01212-FLA-JDE Document 92 Filed 11/02/21 Page 6 of 69 Page ID #:715

                                                                                      6


08:24:21    1   have turned on the light.      Do you find that proper?

08:24:24    2               THE COURT:    That's a little better.      Maybe the

08:24:30    3   interpreter could instruct him to do what he can to enhance

08:24:34    4   the lighting on his end so he could be seen.

08:24:54    5                      Are you in a car, sir?

08:25:01    6               THE WITNESS:     Yes, I am.    Just a second.    It's

08:25:15    7   evening where I am.

08:25:28    8                      Is this good?

08:25:30    9               THE COURT:    Yes.   That's a lot better, thank you.

08:25:41   10                      All right, go ahead, counsel.

08:25:43   11              WITNESS, KHUSEYN (SAYHAN) D. AGAEV, SWORN

08:25:43   12                            DIRECT EXAMINATION

08:25:44   13   BY MR. HAMILTON:

08:25:46   14   Q.      Mr. Agaev, are you alone in the car you're testifying

08:25:49   15   in?

08:25:55   16   A.      Yes, I'm alone.    Yes, the driver has left.

08:26:08   17   Q.      And where, what city are you located in?

08:26:14   18   A.      Moscow.

08:26:19   19   Q.      Mr. Agaev, where do you live?

08:26:24   20   A.      I live in Germany, City of Hamburg.

08:26:39   21               THE COURT:    Okay, we have lost the image again.

08:26:51   22                      All right, the image has returned.

08:26:58   23               MR. HAMILTON:     Can I proceed, Your Honor?

08:27:00   24               THE COURT:    You may.

08:27:02   25   BY MR. HAMILTON:
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                                                                                       7


08:27:04    1   Q.      Mr. Agaev, can you briefly tell us about your

08:27:06    2   background?

08:27:08    3   A.      I've been living in Germany for 20 years already, and

08:27:30    4   I'm a representative in Germany of the Chechen Republic.

08:27:37    5                 THE COURT:   Okay, we're going to stop this.        We

08:27:39    6   lost the image again.

08:27:40    7                      This is the problem with remote testimony.

08:27:44    8   This is why we have witnesses and lawyers to come to court.

08:27:47    9   It is not always perfectly reliable.

08:27:50   10                      So, we're going to take a break, and I'm

08:27:52   11   going to give counsel a few minutes to see if you can get

08:27:55   12   this working; if not, I'm not going to allow it.          I'm not

08:27:59   13   going to allow this under the circumstances to proceed.

08:28:04   14                      Something you'd like to say, Mr. Lomas?

08:28:06   15                 MR. LOMAS:   Yes, I would like to point out -- I

08:28:08   16   would just want to make one objection to this witness,

08:28:10   17   because the name that we were provided is different than his

08:28:14   18   actual -- the name that's here, okay?        So, we were provided

08:28:17   19   the Sayhan name.    The interrogatory response and the request

08:28:17   20   for information about this witness gave no contact

08:28:23   21   information.    We followed up on it beforehand.       We were told

08:28:26   22   no additional information.

08:28:27   23                      We had this one name, this nickname.       We

08:28:30   24   could find no information about the nickname.         We didn't

08:28:33   25   object to the witness because we wanted to just be
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                                                                                      8


08:28:34    1   cooperative and have him testify, but now we see he has a new

08:28:37    2   name, a different name.       And so -- and I just did a Google

08:28:41    3   search right here, and I'm finding all kinds of stuff about

08:28:45    4   this guy that we never had his actually name before until

08:28:47    5   today.

08:28:48    6                 THE COURT:   I seem to recall in the papers that

08:28:49    7   you filed in connection with the possibility of the Court

08:28:52    8   allowing remote testimony, that you hadn't had an opportunity

08:28:56    9   to depose him, hadn't had an opportunity to take discovery on

08:29:01   10   this witness.    Is that right?

08:29:01   11                 MR. LOMAS:   Right, because the information in the

08:29:04   12   disclosures, discovery response said that there was no

08:29:06   13   contact information available for him, and yet he's here.

08:29:11   14   So, frankly, I thought that there was never going to be a

08:29:14   15   witness.

08:29:15   16                 MR. HAMILTON:    Can I respond, Your Honor?

08:29:16   17                 THE COURT:   You may.

08:29:16   18                 MR. HAMILTON:    They didn't take anybody's depo.

08:29:19   19   They didn't take Mr. Vanetik's depo.        So how can he complain

08:29:24   20   about this.

08:29:26   21                      Now, Mr. Agaev said his name is Sayhan, and

08:29:31   22   he just said his religious name, and I didn't know his

08:29:33   23   religious name.    I know what he's called and so does Mr.

08:29:36   24   Vanetik, what he's called in Germany, which is Sayhan Agaev.

08:29:41   25                 MR. LOMAS:   It's not so much about -- I would say
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08:29:44    1   in response to that, it's not so much about the deposition,

08:29:47    2   it's just the opportunity to actually find out information

08:29:49    3   about this person on our own and investigate him.

08:29:50    4                     We had a nickname only.      We had no contact

08:29:53    5   information.    We asked for more information.       None was

08:29:55    6   provided, and now we have an actual full name, and now am

08:30:00    7   able to see things about this person that are probably

08:30:03    8   important to raise, but, you know, I don't have it now in

08:30:06    9   paper form or anything because I never had the name.

08:30:08   10               MR. HAMILTON:     Well, he was identified, Your

08:30:10   11   Honor, and Counsel may or may not have asked me for it, but I

08:30:14   12   don't remember counsel asking me for it.

08:30:16   13                     As I've said, they've taken no depositions of

08:30:19   14   anybody, even the defendant.

08:30:23   15               MR. LOMAS:    It's not about the deposition, it's

08:30:25   16   about learning and understanding who this person is.          No one

08:30:29   17   knows who this person is until today, we knew his real name

08:30:33   18   for the first time today.

08:30:34   19               THE COURT:    Hold on.    Stop.

08:30:36   20                     At the end of the day, the plaintiff didn't

08:30:42   21   move to exclude this witness.       So, I didn't have a motion in

08:30:46   22   limine to exclude testimony, exclude evidence.         So, I'm not

08:30:50   23   going to entertain it in the middle of trial.

08:30:52   24                     But if the technology isn't working properly

08:30:54   25   because he's sitting in a car in Moscow, I'm just not going
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08:31:00    1   to take the testimony this way.       All right?

08:31:01    2                      This trial has been pending, arrangements,

08:31:06    3   obviously dates --

08:31:08    4                      I've been extremely flexible with both

08:31:10    5   counsel with respect to the date of the trial to accommodate

08:31:14    6   needs.   So, the parties have had time, you know, to arrange

08:31:19    7   for remote testimony if that's what you wanted to do, and I

08:31:23    8   ultimately allowed it after you made the proper showing, but

08:31:30    9   I'm not going to allow it if it isn't working properly.

08:31:33   10   Because, one, it's causing delays, and, two, it creates

08:31:37   11   unreliability, and the testimony isn't necessarily coming

08:31:41   12   across clearly.

08:31:43   13                      So, you know, Mr. Fuks testified from his

08:31:47   14   residence, there were absolutely no issues with the

08:31:49   15   electronic transmission of the testimony, it was never

08:31:53   16   interrupted, he was perfectly clear and visible, and that's

08:31:56   17   what I expect.     Okay?

08:31:58   18                MR. HAMILTON:    Yes, Your Honor.

08:31:59   19                THE COURT:    Not someone sitting in a car in a

08:32:03   20   middle of city with, I presume, inconsistent or unreliable

08:32:09   21   wireless service.

08:32:09   22                      So, I'll give you a few minutes to see if

08:32:11   23   this is going to work; but if continues along these lines,

08:32:16   24   I'm not going to allow it.

08:32:18   25                MR. HAMILTON:    Yes, Your Honor.
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08:32:19    1                  THE COURT:   We'll be in a brief recess.

08:32:23    2                  (Recess taken.)

08:58:37    3                  THE COURT:   All right, we are back on the record.

08:58:42    4                       So, Mr. Hamilton, have things been worked out

08:58:47    5   with your witness who is attempting to testify remotely?

08:58:50    6                  MR. HAMILTON:   I believe so, Your Honor.

08:58:52    7                  THE COURT:   All right, let's give it another try.

08:58:54    8                       The witness is on video, as it Mr. Fuks, and

08:58:59    9   the Russian interpreter is here in the courtroom.

08:59:05   10                       DIRECT EXAMINATION (RESUMED)

08:59:05   11   BY MR. HAMILTON:

08:59:07   12   Q.      Mr. Agaev, can you describe to us what businesses

08:59:12   13   you're in?

08:59:13   14   A.      I do logistics, securities, construction.         And also I

08:59:53   15   buy and sell real estate.

08:59:55   16   Q.      Mr. Agaev, do you know an individual named Yuri

08:59:59   17   Vanetik?

09:00:04   18   A.      Yes.

09:00:04   19   Q.      And how do you know Mr. Vanetik?

09:00:10   20   A.      We had a minister of economics in Chechnya by name of

09:00:27   21   Ibrahimov, and he introduced us.

09:00:33   22   Q.      How many years ago was that?

09:00:38   23   A.      Approximately four years.

09:00:40   24   Q.      And, Mr. Agaev, do you know an individual named Pavel

09:00:44   25   Fuks?
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                                                                                     12


09:00:49    1   A.      Yes.

09:00:49    2   Q.      And how do you know Mr. Fuks?

09:01:15    3                  THE INTERPRETER:   The volume is a little low.

09:01:25    4                  THE WITNESS:   Alexander Shishkin (phonetically

09:01:33    5   spelled).    He lives in Moscow.

09:01:35    6                  THE COURT:   Let me just stop you.    Let me inquire

09:01:37    7   of the interpreter.     Can you hear sufficiently well to

09:01:40    8   interpret?

09:01:42    9                  THE INTERPRETER:   Yes.

09:01:44   10                  THE COURT:   All right, do you need the volume

09:01:45   11   adjusted?

09:01:47   12                  THE INTERPRETER:   The last thing he said I heard

09:01:49   13   okay.

09:01:50   14                  THE COURT:   All right.    If you have any difficulty

09:01:51   15   hearing the witness, please tell me.

09:01:53   16                  THE INTERPRETER:   Okay.

09:01:59   17                  THE COURT:   Go ahead.

09:02:03   18                  THE WITNESS:   So, when I was speaking to him, I

09:02:24   19   asked him if he knew Yuri Vanetik, and he said yes, but that

09:02:34   20   they both had a problem with this individual, Mr. Fuks.

09:03:03   21                       Mr. Shishkin called the mayor of Kharkiv, and

09:03:11   22   that's how I met him.

09:03:13   23   BY MR. HAMILTON:

09:03:13   24   Q.      Did you ever have any conversations with Mr. Fuks?

09:03:24   25   A.      Yes, I did.    Two times.
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                                                                                     13


09:03:26    1   Q.      When, approximately, was your first discussion with

09:03:31    2   Mr. Fuks?

09:03:41    3   A.      It was approximately two years ago.

09:03:43    4   Q.      And why did you --

09:03:45    5                      Did you call Mr. Fuks?

09:03:52    6   A.      No, when they had an issue that they wanted to resolve

09:04:09    7   with the mayor of Kharkiv, he made a video call to me.

09:04:19    8   Q.      Okay, when was the first time you called Mr. Fuks,

09:04:22    9   approximately?

09:04:23   10   A.      Approximately two years ago when I was in Munich.          So,

09:04:43   11   about February.

09:04:44   12   Q.      What did you and Mr. Fuks discuss in the first

09:04:47   13   conversation?

09:05:14   14   A.      I told him that let us like adults sit down and talk

09:05:28   15   and resolve this problem, and he answered to me only after he

09:05:35   16   gives me a visa because he revoked his visa.

09:05:40   17   Q.      When you say "he," who did you understand Mr. Fuks to

09:05:46   18   mean by "he"?

09:05:51   19   A.      What he meant is that Mr. Vanetik took his visa away,

09:06:10   20   and he should give him back the visa first.

09:06:14   21   Q.      How were you certain that you were speaking to Mr.

09:06:19   22   Fuks in the first conversation?

09:06:21   23   A.      Because it was a video call.

09:06:34   24   Q.      And how did you know what Mr. Fuks looked like at that

09:06:47   25   time?
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09:06:47    1   A.       Because -- well, I'm seeing him now.       Back then I

09:07:17    2   didn't know him, but Mr. Shishkin (phonetically spelled)

09:07:22    3   showed him to me, because he owes him 300 million when he was

09:07:27    4   doing construction in Moscow city.        He said he stole 300

09:07:32    5   million from him.

09:07:33    6   Q.       And the individual that you're seeing now, that's the

09:07:36    7   person you spoke to in the first phone conversation?

09:07:50    8   A.       Yes, it is that same person.

09:07:53    9   Q.       In the first phone conversation, did Mr. Fuks tell you

09:07:58   10   that Yuri Vanetik owed him any money?

09:08:20   11   A.       No, he only spoke about the visa, and he said if he

09:08:24   12   does not fix my visa, then I'll do him in.

09:08:30   13   Q.       What did you understand the term "do him in" to mean?

09:08:47   14   A.       Well, it was a threat.     One can understand it any way

09:08:53   15   one likes, but it was a threat.

09:08:54   16   Q.       And when --

09:08:56   17                      Approximately when did your second

09:08:57   18   conversation happened with Mr. Fuks?

09:09:00   19   A.       Approximately one month later when I was in Hamburg.

09:09:19   20   Q.       And what did you discuss with Mr. Fuks?

09:09:35   21   A.       Again, the mayor of Kharkiv had called me, and we were

09:09:48   22   discussing the visa issue, and there were five or six other

09:09:52   23   people in my office, and even they heard it.

09:09:55   24   Q.       Could you see Mr. Fuks in the second conversation on

09:10:01   25   video?
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09:10:08    1   A.       Yes, it was also a video call.

09:10:11    2   Q.       In the second call, did Mr. Fuks discuss Mr. Vanetik?

09:10:23    3   A.       Yes, yes.    He said let him do the visa for me, and if

09:10:34    4   not, he would do him in.

09:10:37    5   Q.       Was he referencing a visa to the United States?

09:10:48    6   A.       Yes, he meant America.      He supposedly took it away

09:10:53    7   from him.

09:10:54    8   Q.       And in the second conversation, did Mr. Fuks ever say

09:10:58    9   that Mr. Vanetik owed him any money?

09:11:10   10   A.       We did not discuss anything else other than the visa

09:11:17   11   issue.

09:11:20   12                   MR. HAMILTON:   No more questions for this witness,

09:11:22   13   Your Honor.

09:11:23   14                   THE COURT:   Cross-examination?

09:11:27   15                                CROSS-EXAMINATION

09:11:27   16   BY MR. LOMAS:

09:11:31   17   Q.       Hello, Mr. Agaev?

09:11:34   18   A.       Yes.

09:11:35   19   Q.       First, why are you testifying from your car today?

09:11:41   20   A.       Because I've been here for two days, and I have had

09:12:06   21   lots of meetings with people, and there was just no other

09:12:10   22   place where there aren't any people.

09:12:12   23   Q.       You've never met Mr. Fuks in person?

09:12:22   24   A.       No, I -- personally, I have not met him, ever.

09:12:25   25   Q.       And Mr. Fuks never called you or initiated a video
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09:12:30    1   conference with you?

09:12:32    2   A.       No, he personally did not call it.       It was the mayor

09:12:50    3   of Kharkiv who made the calls, his friend.

09:12:54    4   Q.       Did you talk with Mr. Vanetik about your testimony

09:13:00    5   today?

09:13:09    6   A.       No, I didn't.       Initially, he didn't say anything to

09:13:24    7   me.   I found out from Shishkin that they have problems.

09:13:30    8   Q.       Okay.    So, you've had no conversation with Mr. Vanetik

09:13:33    9   about appearing at this trial?

09:13:42   10   A.       Just recently we had a conversation.       We connected

09:13:54   11   through my secretary.

09:13:55   12   Q.       Okay, and did Mr. Vanetik ask you to testify about --

09:14:02   13   or testify to anything specifically?

09:14:38   14   A.       No, he never told me what to say.       It's just that I

09:14:42   15   knew they were having issues.        So, I said I'm simply going to

09:14:47   16   say what I myself have to say.

09:14:49   17   Q.       And you said you've known Mr. Vanetik for four years?

09:14:54   18   A.       Yes.

09:14:58   19   Q.       Have you been in touch with him over the course of

09:15:01   20   those four years?

09:15:04   21   A.       No.

09:15:10   22   Q.       No?    You've never had any communications between the

09:15:14   23   time of meeting him until recently; is that right?

09:15:25   24   A.       No, no, there wasn't.

09:15:29   25                   MR. LOMAS:    All right, no further questions.
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                                                                                     17


09:15:32    1                THE COURT:    Redirect?

09:15:33    2                MR. HAMILTON:    No further questions, Your Honor.

09:15:35    3                THE COURT:    Witness excused?

09:15:36    4                MR. HAMILTON:    Yes.

09:15:37    5                THE COURT:    All right, Mr. Agaev, you are excused,

09:15:40    6   sir.    Thank you.

09:15:45    7                THE WITNESS:    Thank you very much.      Bye-bye.

09:15:56    8                THE COURT:    All right, you may call your next

09:15:57    9   witness.

09:15:58   10                MR. HAMILTON:    Your Honor, the defense rests their

09:16:00   11   case.

09:16:00   12                THE COURT:    All right, are there any lingering

09:16:04   13   exhibits that you haven't moved into evidence.          I'll just

09:16:07   14   give you an opportunity to do that if there are any.

09:16:09   15                MR. HAMILTON:    No, Your Honor.

09:16:11   16                THE COURT:    Okay.   Any rebuttal by the plaintiff?

09:16:15   17                MR. LOMAS:    Yes, Your Honor.     I'd like to call

09:16:18   18   back Mr. Fuks just for a short rebuttal, please.

09:16:21   19                THE COURT:    All right, Mr. Fuks is on video.

09:16:25   20   Again, I remind Mr. Fuks that he is under oath.

09:16:31   21                THE WITNESS:    Yes, Your Honor.

09:16:34   22                THE COURT:    Go ahead, Counsel.

09:16:37   23                        PLAINTIFF, PAVEL FUKS, SWORN

09:16:37   24                     DIRECT EXAMINATION (REBUTTAL)

09:16:41   25   BY MR. LOMAS:
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                                                                                     18


09:16:42    1   Q.       Mr. Fuks, did you ever ask -- actually, strike that.

09:16:47    2   Why don't I ask you.

09:16:48    3                      You saw the testimony just now from Mr.

09:16:51    4   Agaev.   Did you see him?

09:16:55    5   A.       Yes, I did.

09:16:57    6   Q.       And do you recall or remember having the video

09:17:01    7   conferences that he referenced?

09:17:04    8   A.       No, I have never had any conversations or video

09:17:17    9   conferences with him.      I'm seeing him for the first time in

09:17:20   10   my life.

09:17:22   11   Q.       Mr. Fuks, did you ever ask Mr. Vanetik to consider

09:17:28   12   whether Mr. Kernes, the mayor of Kharkiv, whether he may have

09:17:39   13   claims against the Ukrainian government for human rights

09:17:40   14   violations?

09:17:54   15   A.       No.

09:17:55   16   Q.       Did you ever ask Mr. Vanetik to look into whether Mr.

09:18:01   17   Kernes may have claims against anyone for human rights

09:18:05   18   violations.

09:18:25   19   A.       No, I did not.    It's just that Gennady had asked me to

09:18:41   20   forward some article or some material on human rights that he

09:18:46   21   had asked for.

09:18:47   22   Q.       Okay.   Did you ever engage Mr. Vanetik to work on a

09:18:52   23   human rights projects on behalf Mr. Kerness?

09:19:07   24   A.       No, I did not.

09:19:08   25   Q.       Did you ever engage Odyssey Management to work on a
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                                                                                     19


09:19:13    1   human rights project on behalf Mr. Kerness?

09:19:29    2   A.        Never.

09:19:30    3   Q.        Did Mr. Vanetik ever provide you with any work product

09:19:35    4   concerning human rights issues?

09:19:47    5   A.        No, never.

09:19:48    6   Q.        Did a gentleman by the name of Erik Rogers ever

09:19:55    7   provide you with any work product concerning human rights

09:19:58    8   issues?

09:20:09    9   A.        No, and I don't know who that is.

09:20:12   10   Q.        Did Odyssey Management ever provide you with any work

09:20:15   11   product concerning human rights issues?

09:20:28   12   A.        No.

09:20:29   13   Q.        Did Mr. Vanetik ever provide you with any work product

09:20:35   14   of any kind relating to Mr. Kerness?

09:20:42   15   A.        No.

09:20:46   16   Q.        Did Erik Rogers ever provide you with any work

09:20:50   17   product?

09:20:51   18   A.        No.

09:20:57   19   Q.        Did Odyssey Management ever provide you with any work

09:21:00   20   product relating to Mr. Kerness?

09:21:04   21   A.        No.

09:21:11   22   Q.        Mr. Fuks, have you ever used the Signal app to send

09:21:16   23   messages to Mr. Vanetik?

09:21:25   24   A.        No.

09:21:25   25   Q.        Have you ever used the Signal app to receive messages
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                                                                                     20


09:21:31    1   from Mr. Vanetik?

09:21:38    2   A.        No.

09:21:39    3   Q.        Mr. Fuks, do you recall Exhibit 1 we talked about the

09:21:43    4   other day with the list of text messages or the transcript of

09:21:49    5   text messages.     Do you recall that exhibit?

09:22:01    6   A.        Yes.

09:22:01    7   Q.        Did you fabricate any of the messages in Exhibit 1

09:22:08    8   that state that they are from Mr. Vanetik?

09:22:18    9   A.        No.

09:22:18   10   Q.        And did you have anyone fabricate any of the messages

09:22:22   11   in Exhibit 1 saying that they were from Mr. Vanetik?

09:22:27   12   A.        No.

09:22:34   13   Q.        Did you or anyone on your behalf fabricate any of the

09:22:39   14   messages in Exhibit 1?

09:22:41   15   A.        No.

09:22:51   16   Q.        Mr. Fuks, when you asked for a refund of the $200,000,

09:22:58   17   did you ask for a refund of any other moneys for anyone else?

09:23:12   18   A.        I don't remember.   Probably not.     He also took 40,000

09:23:37   19   from Khomutynnik for some purpose, I don't recall what.           So,

09:23:45   20   it could be that I asked him about that 40,000, but maybe I

09:23:50   21   didn't.    I just don't remember.

09:23:51   22   Q.        That's fine.   But you -- you said just now that it

09:23:57   23   was -- he also took $40,000 from Vitaliy?

09:24:10   24   A.        Yes, he promised him some separate individual meetings

09:24:19   25   and that some journalists were supposed to write an article
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                                                                                     21


09:24:23    1   about him.

09:24:41    2                  (Discussion off the record.)

09:24:44    3                  MR. LOMAS:   Sorry, I'm just trying to pull up an

09:24:47    4   exhibit.

09:24:47    5   BY MR. LOMAS:

09:25:04    6   Q.      Mr. Fuks, do you see anything on the screen, Exhibit

09:25:09    7   1?

09:25:09    8   A.      Yes.

09:25:10    9   Q.      Oh, okay.    Thank you.

09:25:14   10   A.      I see you.

09:25:17   11   Q.      Oh, just me.    But not the exhibit?

09:25:21   12   A.      No.

09:25:26   13                  THE COURT:   Give us a moment, Counsel.     I think we

09:25:29   14   need to --

09:25:32   15                  COURT CLERK:   I think it has to connect.

09:25:34   16                  MR. LOMAS:   Oh, yes.

09:25:38   17                  THE COURT:   All right, Counsel, there you go.      You

09:25:39   18   need to connect.

09:25:40   19                  MR. LOMAS:   All right, now it's on.     Yes.

09:25:52   20                  (Discussion off the record.)

09:25:52   21   BY MR. LOMAS:

09:26:05   22   Q.      Mr. Fuks, do you now see Exhibit 1 up on the screen?

09:26:11   23   A.      Yes, yes, I do.

09:26:11   24   Q.      And do you see the highlighted portion showing a

09:26:15   25   message dated May 9, 2017?
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                                                                                     22


09:26:22    1   A.      Yes, I do see it.

09:26:23    2   Q.      Okay, and the $40,000 you referenced, was that for

09:26:30    3   inauguration tickets for Vitaliy's wife?

09:26:41    4   A.      No, this was for -- this was for some -- separate

09:26:57    5   services that he promised for him, including meetings about

09:27:02    6   maybe with congressman and journalists.

09:27:05    7   Q.      And did he not -- did Mr. Vanetik not provide those

09:27:09    8   meetings?

09:27:11    9   A.      No.

09:27:14   10   Q.      Okay.   The evening before the inauguration when you

09:27:23   11   went to the Texas Boots ball, did you know anyone who

09:27:27   12   attended the official inauguration ball?

09:27:36   13                 THE INTERPRETER:     I'm sorry, I'm not sure I

09:27:39   14   understood the question.

09:27:40   15                 MR. LOMAS:   Sure.

09:27:41   16   BY MR. LOMAS:

09:27:41   17   Q.      Did you know anyone who, Mr. Fuks, attended the

09:27:45   18   official inaugural ball the night before the inauguration?

09:27:53   19   A.      Of course.

09:27:57   20   Q.      And did they show you pictures of that event?

09:28:05   21   A.      Yes, of course.

09:28:06   22   Q.      And did they describe that event for you?

09:28:10   23   A.      Yes, yes.

09:28:11   24   Q.      And so how did that event compare -- when you saw that

09:28:15   25   event, how did that compare to the Texas Boots event that you
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                                                                                     23


09:28:20    1   attended that night?

09:28:26    2   A.       Well, it was a different level of events.        The ones

09:28:59    3   that they went to, the President actually attended.           It was I

09:29:04    4   believe maybe at a central train station.         So, when I

09:29:08    5   mentioned where I had been, I got laughed at.          So after a

09:29:12    6   while, I didn't mention it anymore.

09:29:16    7                MR. LOMAS:    No further questions.

09:29:17    8                THE COURT:    Cross-examination?

09:29:18    9                MR. HAMILTON:    No questions of this witness, Your

09:29:21   10   Honor.

09:29:21   11                THE COURT:    All right, I have a few questions.

09:29:27   12                      Counsel, I'm going to need your assistance,

09:29:29   13   if you could put Exhibit 1 before your client.

09:29:46   14                      All right, Mr. Fuks, I am going to direct you

09:29:49   15   to the first page that I have in English translation.

09:29:57   16                      Counsel, if you can direct him to the Russian

09:30:03   17   language equivalent, starting with March the 16th of 2018 --

09:30:09   18   I'm sorry, March 18 of 2016, near the top of the English

09:30:18   19   language.

09:30:28   20                      All right, do you see that, Mr. Fuks, the

09:30:31   21   beginning of the transcription of these text exchanges that

09:30:35   22   you state you had with Mr. Vanetik, March 18 of 2016.

09:30:55   23                THE PLAINTIFF:    Yes.

09:30:56   24                THE COURT:    All right, please just read to

09:30:57   25   yourself March the 18th through, say, March the 23rd, and
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09:31:10    1   then I will ask you some questions.

09:31:15    2                 THE PLAINTIFF:   Can I take the paper version I

09:31:20    3   have?   Because I don't see well enough on the monitor.

09:31:24    4                 THE COURT:   Do you have a copy of Exhibit 1

09:31:28    5   physically in the room there with you?

09:31:30    6                 THE PLAINTIFF:   No, I have to go to another room

09:31:39    7   or maybe this could be enlarged.       I just don't see it well

09:31:43    8   enough.   A little bit at least.

09:31:46    9                 THE COURT:   All right, well, obviously I need you

09:31:49   10   to be able to see it.

09:31:53   11                 THE PLAINTIFF:   Okay, okay.

09:31:55   12                 THE COURT:   I don't know if we can enlarge it.        If

09:31:58   13   that's not possible, then I'm fine with you retrieving a

09:32:01   14   physical copy of the transcript.

09:32:13   15                 THE PLAINTIFF:   I can see already.

09:32:16   16                 THE COURT:   All right, if you can look through the

09:32:18   17   lines that refer to March 18th through March 23rd.

09:32:21   18                 MR. LOMAS:   Could we ask him to let us know when

09:32:34   19   he needs us to scroll down?

09:32:36   20                 THE COURT:   Yes, and if you can let us know, if

09:32:38   21   you need to have the lawyers move the page up so you can

09:32:41   22   continue to read.

09:32:46   23                 THE PLAINTIFF:   Yes.   You can move it.     Or scroll

09:33:15   24   it.   Stop.

09:34:16   25                       I've read it.
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09:34:18    1                THE COURT:    All right.    So, Mr. Fuks, Mr. Vanetik

09:34:23    2   here says that he sent you an engagement contract to your

09:34:27    3   e-mail address, and you responded that you got it.          What was

09:34:31    4   that engagement contract about?

09:34:35    5                THE PLAINTIFF:    I don't actually know.      As you can

09:35:12    6   see here, I had sent Mr. Vanetik the address for Gennady's

09:35:21    7   assistant, Olga Krilemko (phonetically spelled).          I don't

09:35:28    8   remember.    So, he was telling me about -- asking me about

09:35:33    9   various issues.     Is this done?    Is this done?     And I was

09:35:36   10   referring him to Olga.

09:35:39   11                THE COURT:    Mr. Vanetik says:     "Engagement K,"

09:35:42   12   which I assume means contract was e-mailed to the G-mail

09:35:49   13   address you provided."

09:36:08   14                      You say:   "I got it."    What did you get?

09:36:16   15                THE PLAINTIFF:    Yuri had asked me to call him to

09:36:33   16   ask him if they had received some things, and after a while

09:36:38   17   they called me back saying yes.       So, I told Yuri they

09:36:43   18   received it.

09:36:44   19                THE COURT:    All right.    But you didn't say "they

09:36:46   20   got it."    You say "I got it," right?

09:36:53   21                THE PLAINTIFF:    Where is that?

09:36:55   22                THE COURT:    It's at March 20, 2016 at 20:32, the

09:37:02   23   time.

09:37:06   24                THE PLAINTIFF:    It says -- it actually says

09:37:10   25   "received" in plural, not "I received."         "They received."
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09:37:15    1                 THE COURT:   I see.   So, in Russian it says:

09:37:22    2   "Received"?    Tell me what it says in Russian?        What's your

09:37:28    3   translation in Russian?      Just tell me in Russian.      I'll have

09:37:32    4   the interpreter translate it.

09:37:38    5                 THE PLAINTIFF:   Yes:   "Poluchennyy" is plural.       It

09:37:42    6   means "they received."

09:37:48    7                 THE COURT:   Okay.    So, the English translation

09:37:51    8   here "I got it" is incorrect.

09:37:57    9                 THE PLAINTIFF:   Yes.   You can see that it says

09:38:03   10   "poluchennyy," plural in Russian.

09:38:05   11                 THE COURT:   Right.   And can the interpreter

09:38:07   12   confirm that translation for me, please.

09:38:10   13                 THE INTERPRETER:     Yes, correct.   It would mean

09:38:12   14   "they" plural, more than one person.

09:38:16   15                 THE COURT:   I see.

09:38:17   16                      Further down, and, Mr. Fuks, all I have is

09:38:22   17   the benefit of the English translation, and I am relying on

09:38:25   18   it, okay?    So, you tell me what it says in Russian.         At March

09:38:39   19   21, it states that, Mr. Vanetik says:        "Hello Pavel, what are

09:38:49   20   these documents?"     In response to some Jpeg attachments

09:39:03   21   above.   And you --

09:39:04   22                      Hold on, hold.

09:39:06   23                      And you respond, according to the English

09:39:10   24   translation:    "Human rights report."

09:39:20   25                      What did you mean by that?
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09:39:25    1                THE PLAINTIFF:    Gennady had asked me to send some

09:39:48    2   material, an article to Yuri.       It was about Ukraine, it was a

09:39:54    3   report on human rights.      And so I did it, and Yuri had no

09:40:00    4   idea what that was.     He asked me what that was.       And I said:

09:40:10    5   This is a human rights report on Ukraine that Gennady had

09:40:13    6   asked me to forward.

09:40:15    7                THE COURT:    So, why were you doing this?       Why are

09:40:19    8   you facilitating this communication between Mr. Vanetik and

09:40:23    9   Gennady Kerness, the mayor?

09:40:35   10                THE PLAINTIFF:    We have to know the mayor of

09:40:57   11   Kharkiv.    Because he was flying with me, he was asking me to

09:41:02   12   do these various things for him.       And -- he -- he rarely

09:41:09   13   communicated with anyone directly.        I mean, you have -- you

09:41:13   14   have to know him.     He hardly ever answered his phone.

09:41:17   15                THE COURT:    All right, did you have a personal

09:41:19   16   relationship with him?

09:41:22   17                THE PLAINTIFF:    Yes, we were friends with him for

09:41:31   18   32 years.    He was my closest friend.

09:41:36   19                THE COURT:    I see.   And so he asked you to assist

09:41:38   20   with this?    That he needed in connection with -- whatever

09:41:44   21   allegations were being made against him at the time?

09:42:00   22                THE PLAINTIFF:    No, he was communicating with Yuri

09:42:24   23   about these issues.     We wanted to send him to America because

09:42:28   24   there was an attempt on his life, and he became paralyzed.

09:42:41   25   And because Gennady had worked for the Yanukovych government,
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09:42:50    1   he ended up under sanctions.        And Yuri had promised him, I

09:43:00    2   believe, things like reinstating the visa or revoking the

09:43:05    3   sanctions.    But as far as I know, none of that happened.

09:43:10    4                THE COURT:    To your knowledge, did Mr. Kerness,

09:43:12    5   the mayor, the former mayor hire Mr. Vanetik to provide

09:43:17    6   consulting services to him?

09:43:29    7                THE PLAINTIFF:    No, as far as it's known to me,

09:43:41    8   Your Honor, they only communicated and spoke about things,

09:43:45    9   but it never got to anything like an actual contract.

09:43:49   10                THE COURT:    And did you ever agree to pay Mr.

09:43:56   11   Vanetik the -- his consulting fees that he would have

09:44:00   12   rendered to Mr. Kerness?

09:44:07   13                THE PLAINTIFF:    No, Your Honor, never.

09:44:19   14                THE COURT:    All right, let me direct you further

09:44:21   15   down in the transcription here.       A couple of days later you

09:44:26   16   go to Rome to meet Mr. Vanetik, correct?

09:44:31   17                THE PLAINTIFF:    Yes.    At Gennady's request, we

09:44:49   18   flew with Gennady.     I took him.

09:44:52   19                THE COURT:    I see.    So, you physically transported

09:44:54   20   Mr. Kerness for this meeting with Mr. Vanetik?

09:44:59   21                THE PLAINTIFF:    I was taking him in my plane

09:45:13   22   because it was problematic for him being a handicapped

09:45:19   23   person.   He needed special equipment.

09:45:20   24                THE COURT:    And your plane has that equipment?

09:45:26   25                THE PLAINTIFF:    No, but it fits in there, and
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09:45:36    1   there were attachments points for it.        So we knew how to do

09:45:42    2   it.

09:45:43    3                THE COURT:    All right.    So, you made your personal

09:45:48    4   airplane jet available to Mayor Kernes for this trip to Rome?

09:46:03    5                THE PLAINTIFF:    Yes.   I had also taken my friend

09:46:07    6   to hospitals both in Israel and Germany when he needed

09:46:15    7   operation.

09:46:15    8                THE COURT:    When you say "my friend," you mean

09:46:17    9   Mr. Kerness?

09:46:19   10                THE PLAINTIFF:    Yes.

09:46:22   11                THE COURT:    To your knowledge did Mr. Kerness meet

09:46:25   12   with Mr. Vanetik in Rome?

09:46:33   13                THE PLAINTIFF:    Yes, we all together had dinner at

09:46:36   14   a restaurant.

09:46:39   15                THE COURT:    And what was discussed during this

09:46:41   16   meeting at the restaurant in Rome?

09:47:16   17                THE PLAINTIFF:    I may not recall everything, but

09:47:18   18   they were talking about the problems of the City of Kharkiv

09:47:22   19   and America, and he was asking about having the sanctions

09:47:28   20   lifted, then he was asking about the documents that Yuri had,

09:47:33   21   and then later he wanted to send various things, and so I was

09:47:40   22   facilitating that communication.

09:47:47   23                THE COURT:    Okay.   How long would you say that

09:47:49   24   meeting in Rome lasted?

09:47:52   25                THE PLAINTIFF:    It was -- it wasn't any longer
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09:48:08    1   than two hours because Gennady was having some phantom [SIC]

09:48:15    2   pains, and he was taking medication, so after a while he

09:48:18    3   would simply fall asleep.      So it wouldn't have been longer

09:48:22    4   than a couple of hours.

09:48:24    5                THE COURT:    And I think you testified that Mr.

09:48:28    6   Kerness was in a wheelchair; is that right?

09:48:32    7                THE PLAINTIFF:    Yes.

09:48:33    8                THE COURT:    And that's because he had been shot in

09:48:37    9   Ukraine?

09:48:41   10                THE PLAINTIFF:    Yes.

09:48:42   11                THE COURT:    All right, did you and Mr. Kerness

09:48:47   12   have any other meetings with Mr. Vanetik in Rome during this

09:48:53   13   visit?

09:49:11   14                THE PLAINTIFF:    You know, I believe that I met

09:49:14   15   with him, I and my wife, the three of us but maybe not

09:49:18   16   Gennady.    So, I don't recall that.

09:49:18   17                THE COURT:    Your wife accompanied you on the trip?

09:49:24   18                THE PLAINTIFF:    Yes.

09:49:25   19                THE COURT:    Anyone else?

09:49:28   20                THE PLAINTIFF:    There was also Gennady's security

09:49:35   21   guard.   And there was some other guy named Yuri.         I do not

09:49:44   22   know him.    I only saw him one time.

09:49:46   23                THE COURT:    Is that someone who accompanied you?

09:49:51   24                THE PLAINTIFF:    Gennady asked to take him with

09:50:00   25   him.
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09:50:00    1                THE COURT:    The --

09:50:04    2                THE PLAINTIFF:    I also paid for accommodations.        I

09:50:13    3   paid for Vanetik's hotel and for this guy Yuri also.

09:50:20    4                THE COURT:    And who attend the dinner on behalf of

09:50:25    5   Mr. Kerness other than you and Mr. Kerness?

09:50:46    6                THE PLAINTIFF:    I believe my wife was there and

09:50:49    7   security, and also the guy, Yuri.        In other words, everyone

09:50:52    8   who flew was there.

09:50:56    9                THE COURT:    All right, tell me what happened at

09:51:01   10   the second meeting that you had with Mr. Vanetik and your

09:51:06   11   wife in Rome.

09:51:14   12                THE PLAINTIFF:    We simply walked around the city

09:51:38   13   center.   We had some coffee, and we were having a

09:51:41   14   conversation among other things about fancy wines and various

09:51:47   15   expensive things like crocodile shoes.        So, we walked around

09:51:52   16   basically having a conversation about not much at all.

09:51:55   17                THE COURT:    All right.    Was anything substantive

09:51:58   18   discussed regarding Mr. Kerness or Mr. Kerness's needs?

09:52:06   19                THE PLAINTIFF:    I can't recall exactly, Your

09:52:14   20   Honor.    I do recall that Gennady made Yuri the present of a

09:52:32   21   dog, because Gennady had lots of dogs, so he gave him, I

09:52:37   22   believe, a German Shepherd.

09:52:42   23                THE COURT:    Is that later or during this Rome

09:52:47   24   trip?

09:52:48   25                THE PLAINTIFF:    It simply might have been the
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09:53:05    1   subject of discussion, and then later it was given -- somehow

09:53:11    2   given to Yuri.

09:53:32    3                THE COURT:    All right, thank you.

09:53:34    4                      If counsel could assist, please, to April the

09:53:38    5   6th of 2016.    If you can please look at the April 6, April 7,

09:53:59    6   2016 text messages.

09:54:11    7                THE PLAINTIFF:    I'm sorry, can you say again,

09:54:13    8   please?

09:54:15    9                THE COURT:    Yes, I'm going to direct you to April

09:54:18   10   the 6th of 2016.

09:54:25   11                THE PLAINTIFF:    Yes, I do see it.

09:54:27   12                THE COURT:    All right, if you could just read

09:54:28   13   those to yourself, through April 7 on the text.

09:54:35   14                THE PLAINTIFF:    Yes.

09:54:35   15                THE COURT:    All right, the English translation

09:54:37   16   says that Mr. Vanetik says to you:        "Have not received

09:54:44   17   anything from his lawyers yet."       And you reply:     "I'll say it

09:54:53   18   again.    He said that he is preparing documents for you."

09:54:58   19   Assuming that is an accurate translation, what did that mean

09:55:04   20   to you?

09:55:18   21                THE PLAINTIFF:    This was about that Olga that he

09:55:31   22   was communicating with, and they constantly were suffering

09:55:34   23   from some kind of a disconnect.       So, Gennady would

09:55:40   24   periodically ask me to check about it.

09:55:45   25                THE COURT:    When it says "his lawyers," is that a
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09:55:47    1   reference to Mr. Kerness's lawyers?

09:55:56    2                THE PLAINTIFF:    Mr. Kerness.

09:55:57    3                THE COURT:    And when you said that he said that he

09:56:00    4   is preparing documents for you, are you referring to

09:56:02    5   Mr. Kerness?

09:56:08    6                THE PLAINTIFF:    Yes.    Being a rather typical

09:56:33    7   bureaucrat, you know, you have to bug him and call him ten

09:56:39    8   times for something to happen.        So, maybe that's part of the

09:56:44    9   reason all this was happening.

09:57:03   10                THE COURT:    All right.    And then directing you to

09:57:05   11   April 12, 2016, if you could look at those couple of

09:57:13   12   messages.

09:57:20   13                THE PLAINTIFF:    Yes.    Could I have the -- the

09:57:27   14   English bit translated for me?

09:57:34   15                THE COURT:    All right, I'll ask the interpreter --

09:57:36   16                      You're referring to Mr. Vanetik's words in

09:57:38   17   English?

09:57:51   18                (Interpreter translating into Russian.)

09:58:14   19                THE PLAINTIFF:    Well, yes, quite possible, they

09:58:16   20   simply were notifying me of these things.

09:58:19   21                THE COURT:    All right.    So, just for the record,

09:58:20   22   the interpreter translated the English words attributed to

09:58:25   23   Mr. Vanetik to the witness?

09:58:27   24                THE INTERPRETER:     Yes.

09:58:30   25                THE COURT:    All right.    So, when it says here:
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09:58:34    1   "Finishing up strategy memo for Gennady," is that -- did you

09:58:39    2   understand that to be for Mr. Kerness?

09:58:47    3                 THE PLAINTIFF:   Yes.

09:58:48    4                 THE COURT:   All right, did you ever receive such a

09:58:50    5   strategy memo?

09:58:57    6                 THE PLAINTIFF:   No.

09:58:58    7                 THE COURT:   Did you review a strategy memo from

09:59:01    8   Mr. Vanetik that was intended for Mr. Kerness?

09:59:17    9                 THE PLAINTIFF:   Your Honor, I don't remember for

09:59:20   10   sure, but I do not think so.       But I don't -- I don't really

09:59:32   11   know what this would have been about, so, it didn't really

09:59:37   12   involve me.    So I doubt I would have needed it.

09:59:41   13                 THE COURT:   All right, and further down on April

09:59:43   14   the 18th, 2016.

09:59:46   15                      And if the interpreter needs to translate Mr.

09:59:49   16   Vanetik's English, go ahead and do that.

10:00:00   17                 (THE INTERPRETER TRANSLATING IN RUSSIAN)

10:00:30   18                 THE PLAINTIFF:   Yes.

10:00:31   19                 THE COURT:   All right, my question to you is:       Did

10:00:34   20   you have a discussion with Mr. Vanetik about the costs of the

10:00:37   21   project?

10:00:55   22                 THE PLAINTIFF:   They were having correspondence,

10:00:58   23   and Gennady would ask me:      Why don't you ask Yuri how much

10:01:02   24   this will cost.     So I would ask Yuri how much it would cost,

10:01:06   25   and he would answer.
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10:01:08    1                THE COURT:    All right, and did you pass that

10:01:10    2   information along to Mr. Kerness?

10:01:14    3                THE PLAINTIFF:    Yes.   Apparently so.

10:01:19    4                THE COURT:    And, again, did you agree to pay any

10:01:22    5   of these costs?

10:01:27    6                THE PLAINTIFF:    Never.    Look, I'm even saying

10:01:45    7   here:   "Call Gennady back."      So, because this was really

10:01:50    8   their business.

10:01:52    9                THE COURT:    "Their business" meaning Mr. Vanetik

10:01:55   10   and Mr. Kerness's?

10:02:01   11                THE PLAINTIFF:    Yes, they were having a

10:02:10   12   correspondence about some services that Mr. Vanetik

10:02:16   13   apparently wanted to sell to Mr. Kerness, but I don't believe

10:02:20   14   anything happened there.

10:02:31   15                THE COURT:    Turning to the inauguration, you told

10:02:35   16   us that you traveled to the inauguration with your friend and

10:02:47   17   his wife.

10:02:57   18                THE PLAINTIFF:    Yes.

10:03:01   19                THE COURT:    Did you understand that your friend's

10:03:03   20   wife would also attend inauguration events?

10:03:18   21                THE PLAINTIFF:    No.    There were a few events for

10:03:31   22   which Vitaliy said that he would need four tickets.           In other

10:03:34   23   words, there were some very important ones that he would

10:03:38   24   attend by himself and a few specific ones that his wife was

10:03:41   25   also supposed to go to.
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10:03:43    1                 THE COURT:   I see.   And you would be attending all

10:03:46    2   of the events with Mr. Vitaliy; is that right?

10:03:53    3                 THE PLAINTIFF:   Yes.

10:03:55    4                 THE COURT:   So, let me direct you to November the

10:03:58    5   18th of 2016.    If you could just look at that text message.

10:04:41    6                      Hold on.    I haven't asked you anything yet.

10:04:45    7                 THE INTERPRETER:    He was saying "can you translate

10:04:49    8   it for me?"

10:04:52    9                 THE COURT:   Mr. Fuks, what is the extent of your

10:04:54   10   fluency in English?

10:04:59   11                 THE PLAINTIFF:   I'm not that proficient in it.

10:05:10   12                 THE COURT:   All right.

10:05:11   13                 THE PLAINTIFF:   In other words, I could

10:05:15   14   communicate at a restaurant and other casual settings, but if

10:05:21   15   it's a serious subject, that might be difficult for me.

10:05:25   16                 THE COURT:   So, when you received these messages

10:05:26   17   from Mr. Vanetik in English, were you able to understand

10:05:30   18   them?

10:05:38   19                 THE PLAINTIFF:   Yes, I would use a translator if

10:05:42   20   there was something that wasn't clear to me.

10:05:44   21                 THE COURT:   I see.   All right, so, again the

10:05:46   22   interpreter may interpret anything that's in English in the

10:05:50   23   document.

10:05:50   24                      And directing the witness again to the

10:05:55   25   November 18, 2016 time period in the transcription.
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10:06:16    1                      (INTERPRETER TRANSLATING)

10:07:07    2                THE COURT:    My question is:     Why did you only

10:07:10    3   order two tickets if your friend Vitaliy's wife was attending

10:07:13    4   as well?

10:07:37    5                THE PLAINTIFF:    Because they were very expensive,

10:07:40    6   and so Vitaliy decided it wasn't necessary for his wife to

10:07:44    7   attend.

10:07:45    8                THE COURT:    All right.    But there would be some

10:07:48    9   events that she would attend, so you would need additional

10:07:51   10   tickets?

10:08:14   11                THE PLAINTIFF:    No, because this was part of our

10:08:19   12   communication that you can look at.        There were some events

10:08:27   13   where the spouses were invited, so you could simply take your

10:08:32   14   wife to them.

10:08:33   15                THE COURT:    All right, so, directing you to

10:08:34   16   November 30 of 2016, this is -- appears to be a text from Mr.

10:08:42   17   Vanetik in English.     So, if the interpreter could translate

10:08:47   18   all this for the witness, please.

10:08:50   19                      (INTERPRETING TRANSLATING)

10:09:05   20                THE PLAINTIFF:    Oh, here, actually it says where

10:09:07   21   there are four tickets.      Those were the events that your

10:09:13   22   spouse was also invited.

10:09:16   23                THE COURT:    All right, that was going to be my

10:09:18   24   question.

10:09:24   25                      All right, I don't have anything further.
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10:09:26    1                      Counsel any further questions for the

10:09:28    2   witness, from the plaintiff?

10:09:30    3                MR. LOMAS:    No, Your Honor, thank you.

10:09:31    4                THE COURT:    Defense?

10:09:32    5                MR. HAMILTON:    No, Your Honor.

10:09:33    6                THE COURT:    All right, so, any other rebuttal

10:09:38    7   evidence the plaintiff wishes to offer?

10:09:41    8                MR. LOMAS:    No, Your Honor.

10:09:42    9                THE COURT:    All right, plaintiff rests.

10:09:44   10                MR. LOMAS:    Yes.

10:09:45   11                THE COURT:    Any surrebuttal by the defense?

10:09:47   12                MR. HAMILTON:    No, Your Honor.

10:09:48   13                THE COURT:    All right, prepared to argue?       Do you

10:09:51   14   need a break.

10:09:51   15                MR. LOMAS:    Can we have a break.

10:09:54   16                THE COURT:    We'll be in recess for a few minutes,

10:09:56   17   and then we'll take closing arguments.

10:10:43   18                (Recess taken.)

10:38:41   19                THE COURT:    We are back on the record.      Counsel

10:38:45   20   are present.

10:38:48   21                      All right, ready to proceed with closing

10:38:50   22   arguments?

10:38:51   23                MR. LOMAS:    Thank you, Your Honor.

10:38:52   24                THE COURT:    All right, Plaintiff, you may proceed

10:38:56   25   with your opening argument.
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10:39:00    1                      MR. LOMAS:    Thank you, Your Honor.

10:39:02    2                      Oh, I'm sorry, the translator asked if he was

10:39:07    3   okay to be dismissed.      I don't think we had any further use

10:39:10    4   that we need from him, but we wanted to check with the Court

10:39:13    5   first.

10:39:15    6                THE COURT:    Right, well, you're done presenting

10:39:17    7   testimony.

10:39:17    8                MR. LOMAS:    Right, exactly.     So, okay.

10:39:19    9                THE COURT:    He's welcome to remain or leave, as he

10:39:22   10   wishes.

10:39:22   11                      (CLOSING ARGUMENT BY PLAINTIFF)

10:39:22   12                MR. LOMAS:    Thank you, Your Honor.

10:39:26   13                      When we started on Tuesday, I said this was a

10:39:30   14   simple case, and despite foreign translation and some of the

10:39:35   15   unusual things that we've heard, it really is a simple case

10:39:38   16   at heart.

10:39:39   17                      The plaintiff, Pavel Fuks, like the rest of

10:39:44   18   the world, was intrigued by the election of Donald Trump to

10:39:50   19   become President of the United States, and just a few months

10:39:53   20   earlier, Mr. Fuks having been introduced to Mr. Yuri Vanetik

10:39:59   21   by his fried, the mayor of Kharkiv, an American who

10:39:59   22   supposedly had political connections in the U.S.

10:40:03   23                      When Trump was elected, Mr. Vanetik told Mr.

10:40:07   24   Fuks that some of his close friends had received major

10:40:11   25   appointment.    Mr. Fuks asked Mr. Vanetik about attending the
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10:40:16    1   inauguration, given that relationship.

10:40:18    2                      And as shown in Exhibit 1, the text messages

10:40:22    3   that were exchanged between the parties, Mr. Vanetik told Mr.

10:40:26    4   Fuks that for the inauguration, there are guests that get

10:40:31    5   tickets and guests that get VIP treatment.         "Regular

10:40:35    6   attendance is a joke."

10:40:36    7                      And then Mr. Vanetik went on to say the time

10:40:40    8   to get tickets is in the next five days because the price is

10:40:43    9   going to go up.     Mr. Fuks asked about the price, about the

10:40:47   10   cost, and he said he was ready to buy the very best.

10:40:52   11                      Mr. Vanetik went back, said he would go

10:40:54   12   verify the cost, get more information.        He came back, he

10:40:59   13   said:   "Best VIP, 100K per person.       Includes tickets to

10:41:06   14   inaugural ball, photo ops most likely," and then he talked

10:41:08   15   about levels being below that.

10:41:10   16                      But of course he also said:      "Hotels should

10:41:13   17   be booked now and payments handled as soon as possible."

10:41:16   18                      Mr. Fuks said that he would take two tickets,

10:41:19   19   and he asked when is it and what kind of documents are needed

10:41:22   20   from him.    And Mr. Vanetik responded:      Passports.    He needed

10:41:27   21   his passport and he would send the wire information.

10:41:29   22                      Ultimately, the wire request and the wire

10:41:31   23   payment was $100,000, for the two tickets, $200,000 total.

10:41:38   24                      That invoice -- excuse me.      He sent wire

10:41:43   25   information for his counsel's trust account, but then
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10:41:46    1   apparently changed his mind about where the money should go.

10:41:49    2                      The next day he sent Mr. Fuks an invoice for

10:41:53    3   the $200,000.    That invoice is Exhibit 2.       It's dated

10:41:57    4   November 19, 2016, the day after the parties were confirming

10:42:01    5   the dollar amount, the tickets, and the fact that the wire

10:42:05    6   had to be sent.

10:42:07    7                      It came from Mr. Vanetik's e-mail address.

10:42:12    8   Mr. Vanetik sent that invoice by e-mail, the e-mail address

10:42:16    9   that he just provided to Mr. Fuks one day earlier.          And Mr.

10:42:20   10   Vanetik also copied an e-mail address, Brittany@Vanetik.com,

10:42:25   11   that he also provided to Mr. Fuks just one day earlier in the

10:42:29   12   conversation about the inauguration tickets.         And you heard

10:42:32   13   Mr. Fuks testify, he had one of his companies pay the

10:42:36   14   $200,000 on his behalf.

10:42:37   15                      Mr. Fuks having paid $200,000 for these

10:42:41   16   tickets now started asking for, pressing for details and the

10:42:48   17   schedule.    And in November 29, Mr. Vanetik told him that

10:42:52   18   everything was done.      "I now have what seems to be the final

10:42:56   19   layout.   There are few nuances to go over.        Let's chat a

10:43:01   20   little later."     And he identified the following events.

10:43:04   21                      Could you put that on the screen, by the way,

10:43:06   22   that section?

10:43:08   23                      That we saw earlier, that actually Your Honor

10:43:12   24   pointed out on November 30th, to Mr. Fuks just a little bit

10:43:15   25   ago.   The list of event included:       Cabinet dinner to which he
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10:43:23    1   was getting two tickets, victory reception for which he was

10:43:26    2   going to be getting four tickets, the inaugural concert and

10:43:30    3   fireworks, four ticks; parade, four VIP tickets; inaugural

10:43:36    4   ball; premier access, two tickets; and presidential swearing

10:43:41    5   in ceremony, two tickets.

10:43:44    6                      And Mr. Vanetik confirmed:      "This is the VIP

10:43:47    7   package that we bought."

10:43:50    8                      Mr. Fuks had questions.      Somebody had told

10:43:53    9   him that the seats were bad, as you see in the messages, and

10:43:58   10   Mr. Vanetik assured him that the seats were not bad and told

10:44:01   11   Mr. Fuks:    "At this point you are getting the $250,000

10:44:07   12   package."

10:44:07   13                      And that's consistent with Exhibit 20 that we

10:44:10   14   saw, which is the presidential inauguration committee's own

10:44:15   15   publication of the inauguration packages.         And what Mr.

10:44:18   16   Vanetik told Mr. Fuks on that day that he had purchased was

10:44:21   17   right from the $250,000 underwriter package benefits, I think

10:44:26   18   it was the third page of that exhibit, the one that has the

10:44:30   19   blue -- the blue coloring.

10:44:33   20                      Mr. Vanetik later offered all sorts of other

10:44:36   21   events, and Mr. Fuks passed on those, sticking with the

10:44:40   22   original item that he had paid for and purchased.

10:44:44   23                      Mr. Fuks continually asked Mr. Vanetik for

10:44:46   24   the schedule; but Mr. Vanetik, as you see in the messages,

10:44:49   25   delayed and delayed.
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10:44:51    1                      Finally, on January 17, just three days

10:44:56    2   before the inauguration, Mr. Fuks is still asking Mr. Vanetik

10:45:00    3   for a schedule.     Mr. Vanetik says in the text messages, he

10:45:07    4   was still waiting on the schedule.        But he asked Mr. Fuks

10:45:09    5   when he would be arriving.       And Mr. Fuks told him 1:00 p.m.,

10:45:16    6   January 19, the day before the inauguration.         And Mr. Vanetik

10:45:20    7   had no problem with that.      He said good.     There was a red

10:45:23    8   carpet event that night.

10:45:25    9                      And of course the red carpet event that night

10:45:28   10   was the inaugural ball.      Mr. Vanetik had sold Mr. Fuks two

10:45:33   11   premier access tickets to that event, but he never gave those

10:45:40   12   tickets to Mr. Fuks; instead, he substituted the Texas Black

10:45:46   13   Tie and Boots ball, a 2500-dollars per ticket event.

10:45:50   14                      Mr. Vanetik also failed to provide Mr. Fuks

10:45:53   15   with the tickets to the inaugural concert and fireworks, the

10:45:55   16   VIP tickets to the parade, the tickets to the swearing in

10:45:59   17   ceremony.

10:46:00   18                      Each of those events and the inaugural ball

10:46:03   19   were on January 19 and January 20, while Mr. Fuks was in

10:46:07   20   Washington, D.C., but without the tickets he had purchased

10:46:10   21   from Mr. Vanetik, Mr. Fuks was unable to attend any of these

10:46:19   22   events.

10:46:19   23                      Both Mr. Vanetik and Mr. Fuks acknowledge --

10:46:23   24   Mr. Vanetik testified and Mr. Fuks acknowledges that he was

10:46:25   25   angry when this happened.      He was made out to be a fool in
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10:46:29    1   front of his friends when he was not able to attend the

10:46:32    2   promised events, and he asked for his money back.          And Mr.

10:46:36    3   Vanetik started blaming others.       Mr. Fuks said he would send

10:46:39    4   his lawyers after those others, and he asked Mr. Vanetik to

10:46:42    5   provide the receipts and documents that showed the various

10:46:42    6   payments that he had made for these tickets and the

10:46:47    7   arrangements he had made.      Mr. Vanetik never provided them.

10:46:50    8                      The history of the correspondence between Mr.

10:46:53    9   Fuks and Mr. Vanetik is in Exhibit 1, comes right from --

10:46:57   10   it's the export of the text files that were exchanged between

10:47:01   11   the two individuals between March 2016 all the way through

10:47:05   12   into 2017.

10:47:08   13                      There is an offer from the defendant to

10:47:10   14   provide the best VIP tickets for 100,000 each.          There is an

10:47:16   15   acceptance by the plaintiff by his confirmation that he would

10:47:19   16   take two.

10:47:20   17                      There is performance by the plaintiff by

10:47:22   18   paying the $200,000 total price for the two tickets.           But

10:47:27   19   then there was a breach and no performance by Mr. Vanetik.

10:47:32   20                      Mr. Fuks suffered the $200,000 damages, the

10:47:35   21   price that he paid for the best VIP ticket package.

10:47:40   22                      And with respect to fraud and

10:47:43   23   misrepresentation, we heard Mr. Vanetik testify that he knew

10:47:48   24   foreigners were not allowed to purchase tickets to these

10:47:53   25   inauguration events, yet he sold them to Mr. Fuks anyway.
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10:47:57    1                      So, he misrepresented the facts that Mr. Fuks

10:48:00    2   could obtain these tickets or had access to these tickets,

10:48:03    3   and he took the money from Mr. Fuks anyway.

10:48:06    4                      Mr. Fuks was relying on Mr. Vanetik, as the

10:48:09    5   American with the political connections, to give him the

10:48:12    6   information about these events.

10:48:15    7                      Obviously, we heard a very different story

10:48:22    8   from Mr. Vanetik, and Mr. Vanetik claimed that there are all

10:48:27    9   these e-mails and other WhatsApp messages, Signal messages

10:48:34   10   and other communications that he exchanged with Mr. Fuks that

10:48:37   11   support his story.

10:48:39   12                      He claims that he sent Mr. Fuks multiple

10:48:41   13   draft agreements.     He claims he sent Mr. Fuks multiple draft

10:48:47   14   inauguration schedules.      He claims that Mr. Fuks e-mailed or

10:48:50   15   messaged him this alleged signed consulting agreement, that's

10:48:54   16   Exhibit 10.    He claims that he sent Mr. Fuks e-mails and

10:49:00   17   messages regarding work product that he was providing for Mr.

10:49:04   18   Fuks relating to Mr. Kerness.       He claimed he sent Mr. Fuks

10:49:07   19   messages about settling overdue amounts with Odyssey

10:49:12   20   Management before he would help Mr. Fuks with the

10:49:13   21   inauguration.

10:49:14   22                      But we saw none of these, none of these

10:49:17   23   e-mails, none of these texts, none of these drafts.           None of

10:49:21   24   it.

10:49:22   25                      On the other hand, Mr. Fuks exported the
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10:49:24    1   entire history of the two parties' WhatsApp chat history.

10:49:29    2   And that's Exhibit 1.

10:49:30    3                      There is good, bad and ugly in there.         There

10:49:33    4   is the beginning -- right at the beginning of the same

10:49:37    5   messages that Mr. Vanetik put in as an exhibit in this case,

10:49:40    6   Exhibit 13.

10:49:41    7                      There are some pretty horrible jokes,

10:49:45    8   supposed jokes in that stream of messages.         Mr. Fuks didn't

10:49:51    9   censor anything.     He provided the whole, entire history.

10:49:55   10                      On page 18 of Exhibit 1, we heard earlier

10:49:58   11   today about the German Shepherd that Mr. Kerness gave to Mr.

10:50:03   12   Vanetik, and on page 18 of Exhibit 1, you'll see the text

10:50:07   13   messages about Mr. Vanetik sitting next to the German

10:50:11   14   Shepherd.    They're all there.

10:50:15   15                      Mr. Vanetik could have but he didn't provide

10:50:17   16   an export of his WhatsApp messages with Mr. Fuks.          Mr.

10:50:19   17   Vanetik could have but didn't provide any of the e-mails he

10:50:23   18   claimed to have exchanged with Mr. Fuks.

10:50:26   19                      We heard him first blame that he couldn't

10:50:29   20   provide these documents because the FBI had his phone, but

10:50:33   21   then he admitted a little later that that was only in 2017

10:50:36   22   for a few weeks.     This case wasn't filed until 2019.

10:50:40   23                      Then he tried to hide behind Odyssey

10:50:43   24   Management LLC and said that they weren't a party, and there

10:50:46   25   was no subpoena to Odyssey Management.        But he confirmed that
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10:50:50    1   he was a member of that LLC, and his own witness, Erick

10:50:54    2   Rogers testified that Mr. Vanetik ran Odyssey.

10:50:59    3                      He relies on two documents, primarily.         One

10:51:09    4   is the alleged consulting contract that he says is between

10:51:12    5   him and Mr. Fuks.     That's Exhibit 10.

10:51:20    6                      That agreement or purported agreement is

10:51:24    7   dated September 21, 2016.      There is no explanation for that

10:51:28    8   date.   The messages that the parties exchanged about supposed

10:51:32    9   work that was being done on Mr. Kerness's behalf were in

10:51:38   10   March and April.     We heard nothing from why [SIC] there was

10:51:42   11   an agreement of September 21st, 2016.

10:51:46   12                      In Section 1.2, there is a list of duties,

10:51:51   13   and the duties are talking about providing work for clients

10:51:57   14   and client's businesses, "client" being Mr. Fuks, and there

10:52:01   15   was no work done for Mr. Fuks's businesses.         There is no

10:52:05   16   mention Mr. Kerness or anything to do with the mayor of

10:52:12   17   Kharkiv in this document.

10:52:13   18                      In 1.3 the compensation is listed $250,000

10:52:19   19   and then $50,000 a month thereafter.

10:52:24   20                      The invoice, the only invoice that we've seen

10:52:26   21   in this case is for $200,000, not $250,000.         It's dated

10:52:33   22   November 19, 2016, when Mr. Fuks and Vanetik were discussing

10:52:38   23   the payment for the inauguration tickets, not September 20,

10:52:44   24   21st or not anytime around September 21st when this exhibit

10:52:48   25   was dated -- excuse me -- this agreement was dated.
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10:52:51    1                      Mr. Fuks testified that -- excuse me.

10:52:58    2                      Mr. Vanetik testified that Mr. Fuks owed him

10:53:01    3   money, and he required Mr. Fuks to pay that money before he

10:53:05    4   gave him inaugural tickets.       But there was no documentary

10:53:08    5   support of any of that.      And the amount that he says he paid

10:53:11    6   or that he was asking that he owed is 200,000, which doesn't

10:53:15    7   match the amount in the agreement.

10:53:17    8                      So, again, all -- the entire history of the

10:53:23    9   parties' messages and exchanges is in this Exhibit 1.           The

10:53:30   10   invoice lines up with the date of the $200,000 that was owed

10:53:34   11   for the -- for the tickets.       Mr. Fuks paid that amount.      He

10:53:39   12   did not receive access to any of these events, and so we ask

10:53:43   13   for the Court to find in favor of the plaintiff, Mr. Fuks, on

10:53:47   14   his claims and award him the $200,000 in damages of his price

10:53:54   15   that he paid for the tickets he did not receive.

10:53:56   16                      Thank you, Your Honor.

10:53:57   17                THE COURT:    All right, and just to clarify,

10:53:59   18   Counsel, you're just asking for that amount, for the

10:54:03   19   incidentals --

10:54:04   20                MR. LOMAS:    They're waived, because -- that's

10:54:06   21   fine.   We'll just ask for the $200,000.

10:54:09   22                THE COURT:    All right, very well, thank you.

10:54:12   23                MR. LOMAS:    Thank you, Your Honor.

10:54:13   24                THE COURT:    All right, Mr. Hamilton, on behalf of

10:54:16   25   the defendant, you may argue.
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10:54:16    1                      (CLOSING ARGUMENTS BY DEFENSE)

10:54:42    2                MR. HAMILTON:    First, Your Honor, my client and I

10:54:45    3   and I assume my esteemed counsel, Mr. Lomas and Mr. Ashby and

10:54:49    4   their client would like to thank the Court and everyone in

10:54:52    5   the court for their hospitality, allowing us to come in this

10:54:58    6   week and try and settle disputes between our clients.

10:55:04    7                      Personally, I haven't been in a courthouse

10:55:06    8   for 18 months.     I haven't tried a case in 18 months.        I know

10:55:10    9   I've made some mistakes, and, you know, hopefully we'll keep

10:55:16   10   moving forward, and we'll go back to what it was, and

10:55:19   11   everyone will be safe and protected.        So, thank you.

10:55:27   12                      Your Honor, this case comes down do

10:55:29   13   credibility.    The plaintiff only had one individual that put

10:55:32   14   all the evidence in, and his name is Pavel Fuks.          And what do

10:55:39   15   we know about Mr. Fuks?      We know he's banned from coming into

10:55:44   16   the U.S. for five years.      He admitted that.     Had no

10:55:48   17   explanation for it.

10:55:50   18                      We know -- he admitted his country just

10:55:52   19   seized all of his assets and seized all his businesses.           He

10:55:59   20   had really no explanation for that.        He admitted at one time

10:56:04   21   there was a Russian arrest warrant out for him.          He admitted

10:56:08   22   at one time he was not allowed to go to Mexico.

10:56:14   23                      You know, I submit to you --

10:56:17   24                      Well, also he never could fully explain what

10:56:22   25   was going on on the trip to meet Mr. Vanetik in Rome, and he
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10:56:29    1   would try and put it off on the mayor and say that was

10:56:32    2   between Yuri and the mayor, but later he admitted that that

10:56:37    3   was his best friend.      But he would never explain to us and

10:56:41    4   would never agree that there was some consulting contract or

10:56:45    5   something that Mr. Vanetik was going to do for the Mayor

10:56:51    6   Kerness, Gennady Kerness.

10:56:56    7                      I believe the evidence shows that, you know,

10:57:00    8   there was something done.      Mr. Rogers testified, Mr. Vanetik

10:57:06    9   testified that there was work done, there was communications.

10:57:12   10                      The earlier, March, where you were asking

10:57:15   11   earlier where he's saying:       Did you get the contract?      Mr.

10:57:20   12   Fuks says:    Well, that was something else I didn't want to be

10:57:23   13   a part of, and even though Mr. Kerness is my best friend, I

10:57:28   14   had no idea what Mr. Vanetik and he were doing together.

10:57:31   15                      Mr. Vanetik testified that that was the

10:57:34   16   actual contract that is Exhibit 10.        It was eventually

10:57:40   17   modified.    There was a promise in there to pay 250, and the

10:57:48   18   contract is between Odyssey and Mr. Fuks.

10:57:53   19                      And if you look at the facts in this case,

10:57:56   20   there has never been a contract between Mr. Fuks and

10:58:02   21   Mr. Vanetik.    Counsel just argued that there possibly could

10:58:07   22   have been an oral contract based on some of the statements in

10:58:13   23   the e-mails, but unfortunately this case was filed in 2019,

10:58:20   24   those texts were over two years before this case was filed,

10:58:26   25   and they're all banned by the statute of limitations.
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10:58:30    1                      So, I would say that the --

10:58:36    2                      If we look at the causes of action that Mr.

10:58:43    3   Fuks has the burden of proof, first there was no breach of

10:58:50    4   contract.    As I said, there is nothing written between he and

10:58:55    5   Mr. Vanetik, and the only written contract, and I know they

10:58:58    6   dispute it, is between Odyssey and Mr. Fuks.

10:59:03    7                      Second, conversion.     The money went to

10:59:09    8   Odyssey.    The burden --

10:59:12    9                      And we admit Mr. Vanetik was some kind of

10:59:15   10   partner over there, there were three of them.          That's the

10:59:18   11   testimony, undisputed testimony, but there is no evidence

10:59:23   12   that Mr. Vanetik got any of the money that BEM sent to

10:59:30   13   Odyssey.    So, Odyssey is not a defendant here, and the money

10:59:34   14   that Mr. Fuks is seeking here, the $200,000, went to Odyssey

10:59:41   15   which they've never pierced the corporate veil or anything

10:59:46   16   like that or explained what it is, just that Mr. Vanetik was

10:59:48   17   a party to it.     And there is no evidence in this record that

10:59:53   18   Mr. Vanetik got any of the money.

10:59:55   19                      Similarly, with unjust enrichment, once

11:00:02   20   again, and I'm not going to keep repeating the same argument,

11:00:05   21   you can see where I'm going, the money goes from BEM who had

11:00:10   22   no evidence besides Mr. Fuks's self-serving claim that he

11:00:15   23   owned it, he owned a British Virginia Isle company that sold

11:00:26   24   real estate in the Ukraine, and that's who sent the money.

11:00:30   25                      That's the only testimony that that was his
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11:00:33    1   money, but it really is BEM's money under the law.          But as

11:00:37    2   far as unjust enrichment, there is no evidence that Mr.

11:00:40    3   Vanetik received anything.       The money went over to Odyssey,

11:00:45    4   and the burden is on the plaintiff, it's not on the

11:00:52    5   defendant.

11:00:54    6                      Finally, as far as unfair business practice

11:00:58    7   and whatnot, we maintain that we did not --

11:01:05    8                      I believe, Exhibit 9 went to Mr. Fuks, and he

11:01:15    9   did attend several events where he could see prominent

11:01:19   10   Republicans from Texas and California, certainly got the

11:01:23   11   chance to meet Mr. Royce here and -- Congressman McCarthy and

11:01:31   12   Congressman Royce.     But he didn't get what he wanted, and

11:01:38   13   it's obvious that what he wanted was a picture with Donald

11:01:42   14   Trump.   And his friends did that at the other inaugural, and

11:01:45   15   Mr. Vanetik has explained to him that there were some events

11:01:50   16   he could not attend as a foreigner.

11:01:53   17                      And when he did not get that, the facts show,

11:01:56   18   he didn't want to stay for anything else.         He just packed up

11:02:00   19   and left, went skiing in Mr. Khomutynnik's private plane over

11:02:13   20   in Colorado.    So, you know, there was the program there, and

11:02:15   21   it did cost money, and he had on intention of staying once he

11:02:21   22   didn't get that picture with Donald Trump.

11:02:23   23                      Now, later on we have evidence, and it was

11:02:27   24   kind of unique.     I've never had a witness testify out of a

11:02:31   25   back of a car and did not expect that today.         I thought it
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11:02:35    1   was going to be a hotel room.       But we have Mr. Agaev testify

11:02:46    2   that he did have two conversations with Mr. Fuks, and Mr.

11:02:52    3   Fuks blamed my client for losing his visa, because he lost

11:02:55    4   his visa soon after he was with my client, my client

11:03:01    5   testified that the FBI contacted him and got his cell phone.

11:03:08    6   And to this day, he blames my client for that, and my client

11:03:10    7   had nothing to do with it.       The fact that Mr. Fuks could not

11:03:11    8   fly over here and be here and testify is something Mr. Fuks

11:03:15    9   did, not what my client did.

11:03:18   10                      So, if you look at all his causes of action

11:03:25   11   that are laid out, he simply can't prove it.         He simply wants

11:03:31   12   BEM -- well, he hasn't proved that he even owns BEM or what

11:03:35   13   it is -- sends the money to Odyssey, and Odyssey, there's

11:03:38   14   three partners.     He can never claim that my client ever got

11:03:42   15   the money or anything like that.       He never made Odyssey a

11:03:47   16   defendant in this action or tried to pierce the corporate

11:03:52   17   veil.   There's all kinds of wild allegations over Odyssey in

11:03:56   18   the complaint, and we had Mr. Rogers say it was legit, three

11:04:03   19   partners were working, it was a consulting business, but it

11:04:07   20   never happened, and the money came from BEM.

11:04:09   21                      He makes it up there and say:       Well, BEM is

11:04:12   22   my company, but there is no evidence in the record.           And

11:04:15   23   usually the entity that sends the money is the plaintiff

11:04:21   24   seeking to get the money back.

11:04:22   25                      So, at the end, Your Honor, we ask that you
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11:04:28    1   return the only just result in this case, and that would be a

11:04:36    2   decision in favor of my client.

11:04:38    3                      Thank you.

11:04:39    4                THE COURT:    All right, thank you, Counsel.

11:04:41    5                      Mr. Lomas, if you wish, you may make a final

11:04:47    6   closing argument.

11:04:48    7               (REBUTTAL CLOSING ARGUMENT BY PLAINTIFF)

11:04:48    8                MR. LOMAS:    Your Honor, I'll just touch on a

11:04:56    9   couple of points.     First, on the issue of the oral agreement.

11:05:00   10   The text messages are writings.       There is price, there is the

11:05:06   11   actual product or service or whatever that -- the VIP

11:05:13   12   tickets, and then on November 30 there is a text identifying

11:05:15   13   each of the events and each of the tickets that are part of

11:05:18   14   it, and there is acceptance.       I mean, and then the

11:05:19   15   corresponding payment.      So it's not an oral contract, it's of

11:05:23   16   course a written contract.       There is --

11:05:26   17                      The only testimony, the only evidence in the

11:05:29   18   case is that Mr. Fuks does own BEM Global and used that to

11:05:35   19   pay the $200,000, and the relationship there is somewhat

11:05:42   20   obvious given that Mr. Vanetik had no issue -- or had no

11:05:46   21   issue accepting the payment from BEM Global for, you know,

11:05:50   22   for -- from funds sent for -- excuse me, by Mr. Fuks.

11:05:54   23                      And with respect to Odyssey Management,

11:05:57   24   again, that is where Mr. Vanetik told Mr. Fuks to send the

11:06:01   25   money to that account.      He admitted that he is a member of
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11:06:05    1   that LLC or was at the time.       But he also testified that that

11:06:10    2   organization or that -- yeah, organization is defunct and no

11:06:15    3   longer exists.

11:06:16    4                      So, it's perfectly proper to go pursue the

11:06:16    5   claim from Mr. Vanetik as a member of the LLC that supposedly

11:06:25    6   reached the payment -- or accepted the payment, but it was --

11:06:26    7   the payment was to Mr. Vanetik at Mr. Vanetik's direction

11:06:30    8   with the invoice that he sends.

11:06:33    9                      And then just the last point on the -- this

11:06:41   10   idea, because it's one of the things that's come up a couple

11:06:47   11   of times is Mr. Fuks not attending some of the events.           All

11:06:50   12   of the events on that November 30th list of the events of the

11:06:55   13   tickets that he attended, January 19 and 20, except for the

11:06:59   14   first two, it might have been the 18th.         But the key events,

11:07:03   15   of course, the inaugural concert and fireworks, the parade

11:07:07   16   with the four VIP tickets and the inaugural ball, premier

11:07:11   17   access, and the Presidential swearing-in ceremony, those were

11:07:14   18   the key tickets.     Those were the 19th and the 20th, and that

11:07:18   19   was it.

11:07:18   20                      These other events that came after the fact

11:07:20   21   on the 21st, they weren't part of what he paid for, so of

11:07:24   22   course he left because that wasn't part of what he was paying

11:07:28   23   for.   He was paying for the events on the actually

11:07:29   24   inauguration, the key events on the 19th and 20th, and that's

11:07:32   25   what he did not receive, and that's what he's looking to
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11:07:35    1   recover the funds for.

11:07:36    2                      Thank you.

11:07:37    3                THE COURT:    All right, and just to clarify, the

11:07:38    4   plaintiff is still seeking a ruling from the Court on all of

11:07:43    5   the causes of action that have been pleaded?

11:07:45    6                MR. LOMAS:    Yes.    It's -- on the last point, on

11:07:48    7   the last -- except for the business and professional, we can

11:07:51    8   agree to dismiss that claim.

11:07:54    9                THE COURT:    All right.    All right, so, you're

11:08:01   10   going to move to dismiss the -- is it the 17200 claim?

11:08:04   11                MR. LOMAS:    Yes.

11:08:05   12                THE COURT:    Okay.    All right.   I assume no

11:08:07   13   objection.

11:08:08   14                MR. HAMILTON:    No.

11:08:09   15                THE COURT:    I'll go ahead and grant that.       So,

11:08:11   16   that claim or cause of action is dismissed.

11:08:14   17                      All right, I would like each of the parties

11:08:17   18   to submit proposed findings of fact and conclusions of law

11:08:22   19   pursuant to Local Rule 52 with citations to the record, the

11:08:27   20   trial record and the trial exhibits that have been moved into

11:08:33   21   evidence and admitted.      And I am happy to be reasonable with

11:08:39   22   respect to the amount of time that you need to do that.

11:08:44   23                      I don't have a perfectly good idea of how

11:08:48   24   long it would take to create a transcript for you of the

11:08:52   25   trial, but I was thinking about 30 days.         Is that feasible
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11:08:57    1   for the two sides?

11:09:00    2                MR. LOMAS:     That's fine for the plaintiff.

11:09:01    3                MR. HAMILTON:    Your Honor, it hasn't been

11:09:03    4   continued, but I'm supposed to start like maybe a two-week

11:09:06    5   state court trial in Orange County on October 10th.           We're

11:09:13    6   trying to continue it, but it's right up against the

11:09:14    7   five-year statute, and I don't know if the Court will allow

11:09:25    8   us.

11:09:25    9                THE COURT:     What would you like to counter with

11:09:27   10   another date?

11:09:29   11                      I'm going to pull my calendar up.

11:09:33   12                MR. HAMILTON:    How about 45 days, Your Honor?

11:09:36   13                THE COURT:     All right, why don't we just select a

11:09:40   14   date so that there's no ambiguity.        Today is the 23rd of

11:09:45   15   September.    How is the 12th of November?

11:10:01   16                MR. HAMILTON:    That's fine with me, Your Honor.

11:10:04   17                THE COURT:     Okay, with you, Mr. Lomas?

11:10:07   18                MR. LOMAS:     That's acceptable.    Thank you, Your

11:10:10   19   Honor.

11:10:11   20                THE COURT:     All right, you're welcome.     Of course

11:10:12   21   you can always file it before that.

11:10:14   22                      The Court will take it under submission as of

11:10:16   23   the date that the proposed findings of fact and law are filed

11:10:19   24   with the Court.     Okay?

11:10:22   25                      I can't promise you when the ruling will
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11:10:26    1   issue.   I don't know if you've heard, but all of our judicial

11:10:36    2   vacancies are considered judicial emergencies by the judicial

11:10:41    3   conference of the United States.       We have fairly high case

11:10:44    4   loads.   I think the average case filing, waited case filing

11:10:49    5   per district judge in this district is over 700.          So, we have

11:10:55    6   lots of cases waiting.      And of course the pandemic has made

11:10:58    7   things worse, in addition to our vacancies, not to mention

11:11:02    8   the district in general is very busy even if we had a full

11:11:09    9   complement of district judges, and that the judicial

11:11:13   10   conference is recommending additional judgeships for the

11:11:17   11   district.    So we don't know if that will ever happen.

11:11:20   12                      But I just want you to understand we will do

11:11:22   13   our best.    We are being as diligent as possible with respect

11:11:26   14   to all cases that are before the Court, but it could take a

11:11:29   15   while.   And just to give you an idea, I had a bench trial in

11:11:34   16   another case, and it took us about five months to get our

11:11:37   17   verdict out with detailed rulings.        Okay?

11:11:42   18                MR. LOMAS:    I hope Your Honor does not mind if I

11:11:44   19   use this, the portion of the transcript as an attachment to a

11:11:47   20   motion to transfer from this court in that other case.

11:11:54   21   But -- so -- that's okay.      (Laughing)

11:11:54   22                THE COURT:    Okay, well, it's not meant to

11:11:59   23   discourage you from litigating in our district.          But it's

11:12:03   24   just the reality of the case load at present with respect to

11:12:07   25   each of our judges.
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11:12:10    1                      All right, let me just check with my

11:12:13    2   courtroom deputy.     Are there any exhibits that were marked

11:12:13    3   and not admitted into evidence?

11:12:18    4                COURT CLERK:    Exhibit 7.

11:12:18    5                (Discussion off the record.)

11:12:30    6                THE COURT:    Okay, I just want to make sure with

11:12:32    7   counsel that was intentional, not an oversight.          So, I guess

11:12:37    8   everything else has been admitted that was identified on the

11:12:40    9   record.

11:12:40   10                MR. LOMAS:    Yes.

11:12:41   11                THE COURT:    Seven is not in evidence.

11:12:44   12                MR. LOMAS:    Yes.

11:12:44   13                MR. HAMILTON:    Yes.

11:12:45   14                THE COURT:    All right, seven will not be in

11:12:48   15   evidence.

11:12:48   16                COURT CLERK:    Thank you, Your Honor.

11:12:50   17                THE COURT:    All right, thank you, everyone.

11:12:52   18   Appreciate your efforts.

11:12:53   19                ALL IN UNISON:    Thank you, Your Honor.

11:12:56   20                (Proceedings concluded.)

11:12:58   21                (Court adjourned.)

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   1                            C E R T I F I C A T E

   2     I hereby certify that the foregoing is a true and correct

   3     transcript of the stenographically recorded proceedings in

   4     the above matter.

   5     Fees charged for this transcript, less any circuit fee

   6     reduction and/or deposit, are in conformance with the

   7     regulations of the judicial conference of the united states.

   8

   9

  10     /S/Anne Kielwasser
                                                     10/14/2021
  11     Anne Kielwasser, CSR, RPR                  Date
         Official Court Reporter
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